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 1                                                           The Honorable Thomas S. Zilly
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                          UNITED STATES DISTRICT COURT FOR THE
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8
 9
      UNITED STATES OF AMERICA,                      NO. CR17-163-TSZ
10
                            Plaintiff,
11                                                   PRELIMINARY
12            v.                                     ORDER OF FORFEITURE

13    HYUN JOO HONG,
        aka Grace Hong,
14
                            Defendant.
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16
17         THIS MATTER comes before the Court on the United States’ Motion, docket
18 no. 108, for Entry of a Preliminary Order of Forfeiture (the “Motion”) seeking to forfeit
19 to the United States the interest of the Defendant, Hyun Joo Hong, in the following
20 property:
21         a. One 2015 Aston Martin DB9 Volante, Vehicle Identification Number
22            SCFFDAFM9FGB16266;

23         b. Approximately $209,261.37 in funds held in Interactive Brokers LLC account
              number XXXX6283, held in the name of Hyun Joo Hong;
24
           c. Approximately $6,417.42 in funds held in Interactive Brokers LLC account
25
              number XXXX9407, held in the name of Pishon Holding, LLC;
26
           d. Approximately $5,069.17 in funds held in J.P. Morgan Chase Bank, N.A.
27            account number XXX8615, held in the name of Pishon Holding, LLC;
28
     Preliminary Order of Forfeiture - 1                                UNITED STATES ATTORNEY
                                                                       700 STEWART STREET, SUITE 5220
     United States v. Hyun Joo Hong (CR17-163-TSZ)
                                                                         SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
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 1         e. Approximately $1,009.76 in funds held in J.P. Morgan Chase Bank, N.A.
 2            account number XXXXX9962, held in the name of Hyun Joo Hong;

 3         f. One ring with attached apparent colorless, transparent, round, brilliant-cut
              diamond weighing approximately 3.02 carats, and apparent diamonds inset on
 4
              band, seized on or about June 2, 2017, from the premises of 8918 NE 24th
 5            Street, Clyde Hill, Washington, 98004;
 6         g. One Rolex Oyster Perpetual Yacht-Master watch, seized on or about June 2,
 7            2017, from the premises of 8918 NE 24th Street, Clyde Hill, Washington,
              98004;
 8
 9         h. One Patek Philippe watch with apparent inset diamond, seized on or about
              June 2, 2017, from the premises of 8918 NE 24th Street, Clyde Hill,
10            Washington, 98004;
11         i. One gold U.S. Liberty Coin, weighing approximately one ounce, seized on or
12            about June 2, 2017, from the premises of 8918 NE 24th Street, Clyde Hill,
13            Washington, 98004; and

14         j. Assorted jewelry seized on or about June 2, 2017, from the premises of 8918
              NE 24th Street, Clyde Hill, Washington, 98004, including items appearing to
15
              be: two gold metallic keys; four gold metallic bracelets; one gemstone pearl
16            bracelet; one silver metallic ring; one Tiffany key pendant necklace; two gold
17            metallic chain necklaces;, and one gold metallic medallion necklace.
18         The Court, having reviewed the papers and pleadings filed in this matter, including
19 the Motion, hereby FINDS that entry of a Preliminary Order of Forfeiture is appropriate
20 because:
21         • The above-identified property is subject to forfeiture to the United States,
22             pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c) as property
23             constituting or derived from proceeds traceable to wire fraud or a conspiracy to
24             commit such offense, or any property traceable to such property; and
25         • The Defendant agreed, pursuant to the Plea Agreement she entered on March
26             30, 2018, to forfeit the above-listed property to the United States (Dkt. No. 88,
27             ¶ 8).
28
     Preliminary Order of Forfeiture - 2                                  UNITED STATES ATTORNEY
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 1          NOW, THEREFORE, THE COURT ORDERS:
 2          1)     Pursuant to the Motion, the Plea Agreement, 18 U.S.C. § 981(a)(1)(C), and
 3 28 U.S.C. § 2461(c), the Defendant’s interest in the above-identified property is fully and
 4 finally forfeited, in its entirety, to the United States;
 5          2)     Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A)-(B), this Preliminary Order will
 6 become final as to the Defendant at the time she is sentenced, it will be made part of the
 7 sentence, and it will be included in the Judgment;
 8          3)     The United States Department of Justice, and/or its authorized agents or
 9 representatives, shall maintain the above-identified property in its custody and control
10 until further order of this Court;
11          4)     Pursuant to Fed. R. Crim. P. 32.2(b)(6) and 21 U.S.C. § 853(n), the
12 United States shall publish notice of this Preliminary Order and the United States’ intent
13 to dispose of the property as permitted by governing law. The notice shall be posted on
14 an official government website—www.forfeiture.gov—for at least 30 days. For any
15 person known to have alleged an interest in the above-identified property, the
16 United States shall also, to the extent possible, provide direct written notice to that
17 person. The notice shall state that any person, other than the Defendant, who has or
18 claims a legal interest in the above-identified property must file a petition with the Court
19 within 60 days of the first day of publication of the notice (which is 30 days from the last
20 day of publication), or within 30 days of receipt of direct written notice, whichever is
21 earlier. The notice shall advise all interested persons that the petition:
22               a. shall be for a hearing to adjudicate the validity of the petitioner’s alleged
                    interest in the property;
23
24               b. shall be signed by the petitioner under penalty of perjury; and
25               c. shall set forth the nature and extent of the petitioner’s right, title, or interest
26                  in the property, as well as any facts supporting the petitioner’s claim and
                    the specific relief sought;
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     Preliminary Order of Forfeiture - 3                                       UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
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 1         5)      If no third-party petition is filed within the allowable time period, the
 2 United States shall have clear title to the property, and this Preliminary Order shall
 3 become the Final Order of Forfeiture as provided by Fed. R. Crim. P. 32.2(c)(2);
 4         6)      If a third-party petition is filed, upon a showing that discovery is necessary
 5 to resolve factual issues presented by that petition, discovery may be conducted in
 6 accordance with the Federal Rules of Civil Procedure before any hearing is conducted on
 7 the petition. Following adjudication of any third-party petitions, the Court will enter a
 8 Final Order of Forfeiture, pursuant to Fed. R. Crim. P. 32.2(c)(2) and 21 U.S.C. § 853(n),
 9 reflecting that adjudication;
10         7)      The Court will retain jurisdiction for the purpose of enforcing this
11 Preliminary Order, adjudicating any third-party petitions, entering a Final Order of
12 Forfeiture, and amending the Preliminary Order or Final Order as necessary pursuant to
13 Fed. R. Crim. P. 32.2(e).
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     Preliminary Order of Forfeiture - 4                                    UNITED STATES ATTORNEY
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 1         The Clerk of Court is directed to serve a copy of this Order on all parties of record.
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 5         DATED: October 11, 2018.
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 7                                                    A
                                                      Thomas S. Zilly
 8
                                                      United States District Judge
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     Presented by:
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14
          /s/ Neal Christiansen
15 NEAL B. CHRISTIANSEN
16 Assistant United States Attorney
   United States Attorney’s Office
17 700 Stewart Street, Suite 5220
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19 Neal.Christiansen2@usdoj.gov
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     Preliminary Order of Forfeiture - 5                                  UNITED STATES ATTORNEY
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